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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
______________________________________________

MICHAEL CASACCIA

                               Plaintiff,                      ANSWER
             v.
                                                               Civil Action No.:
                                                               6:17-cv-06323-MAT
CITY OF ROCHESTER, et al
                               Defendants.

______________________________________________

       Defendants, by its attorneys, Timothy R. Curtin, Corporation Counsel and Spencer

L. Ash, Esq., of counsel, answer plaintiff’s Complaint as follows:

        1. Defendants moved to Dismiss the Complaint by formal motion on August 28,

2017. See Docket 11.

        2.    By Decision and Order dated January 8, 2018, the Court dismissed the

Rochester Police Department as a party, dismissed the supervisory liability claim, as well

as the state law claims of intentional and negligent supervision. See Docket 17.

       3.     The City interposes this Answer for the sole purpose of clarifying the record

as to remaining claims and parties.

       4.     Denies each and every allegation set forth in the Complaint.


       WHEREFORE, defendants demand judgment dismissing plaintiff’s Complaint,

together with the costs and disbursements of this action.


DATED: April 12, 2019              Timothy R. Curtin, Corporation Counsel



                                            By:   /s/Spencer L. Ash
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